                  IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

             v.
                                                       No. 1:21-cr-175 (TJK)
DOMINIC PEZZOLA,

                    Defendant.


       DEFENDANT PEZZOLA’S MOTION FOR SIX ADDITIONAL
          PEREMPTORY STRIKES TO OBTAIN A FAIR JURY

      Dominic Pezzola, by his undersigned counsel, hereby submits the following

precedents in support of his assertion of his right to Due Process of law and a fair trial

by an impartial, fair, unbiased panel. Respectfully, Pezzola invokes a violation of his

Fifth, Sixth, and Eighth Amendment Rights if only 12 peremptory strikes are awarded

among these five defendants; and consequently, respectfully requests that this Court

grant six (6) additional peremptory strikes for the defense, on account of the extensive

one-sided media coverage of this case against the defendants in conjunction with the

clear bias and prejudice against the defendants exhibited since December 19, 2022,

when voir dire commenced in this matter.

      If such request is granted then the pool of 42-46 qualified jurors (which has yet

to be determined) will only extend to 48-52 qualified jurors. In the grand scheme of this

case, the prejudice to each Defendant is substantially outweighed any expediency

argument to have this jury certified.
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          Respectfully, we ask this Court to consider the following:

                (1)    the number of defendants in this case is five,
                (2)    the inherent bias in the jury pool thus far, after three
                       days of voir dire,
                (3)    the extensive one-sided media coverage highlighted
                       this week in the January 6th select committee’s
                       continued hearings, reports, and referrals that former
                       president Donald Trump be prosecuted; and
                (4)    the difference in the style among the five defendants
                       in this case.

          We respectfully request that this Court consider the fact that among the five

defendants, different sides and contrasting defenses must be presented in this matter.

It is undisputed that this Court granted the Defense two additional peremptory strikes,

thereby raising the defenses peremptory strikes from 10 to 12, and the governments

from 6 to 8.

          However, in light of the unconventional, unprecedented circumstances

surrounding this case1, additional peremptory strikes are wholly warranted. After three

days of voir dire, the Court has questioned approximately 60 potential jurors and qualified

18 (eighteen). Jurors who have already been disqualified for cause outnumber those who

qualify by margins of roughly three to one. The Court’s jury questioning has revealed

that many more potential jurors hate, despise, and detest the Proud boys and what they

allegedly “stand for” than the number of potential jurors who might try defendants

fairly.


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 See Attorney Norm Pattis application seeking a week extension of jury selection based on the January
    th
6 Committee, (December 20, 2022, at p. 325-340).
                                                 2
          Some twenty or more prospective jurors have come into the courtroom and

admitted they regard Proud Boys and defendants as “violent,” “racist,” “extremists,”

“terrorists,” “dictators,” or worse. Even upon leading questions by the Court such as,

“But you can put those feelings aside, can’t you?” many of the jurors palpably recoil at

the prospects of trying defendants fairly. Several jurors have openly indicated that the

Proud Boys scare them, are part of the “white supremacist” movement, “white

nationalists” or played a predominant role in the attack on the Capitol on January 6th.2

          These jurors will almost certainly vote to convict and imprison the defendants

over fear for their personal safety. This case is unusual in that the prosecution’s case is

relatively straightforward, while the defendants’ case relies on convincing jurors to put

away their fears and hatreds and give defendants a fair chance. In light of this, in the

discretion of the Court, granting Defendants six more peremptory challenges

distributed among five defendants is not unreasonable.

                                     I. LEGAL STANDARD.

          Rule 24 of the Federal Rules of Criminal Procedure provides that, in non-

capital felony cases, “[t]he government has 6 peremptory challenges and the

defendant or defendants jointly have 10 peremptory challenges . . . .” Fed. R.

Crim. P. 24(b)(2). However, “[t]he court may allow additional peremptory challenges

to multiple defendants, and may allow the defendants to exercise those challenges



2
    Cf. Juror 0888 (December 21, 2022).
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separately or jointly.” Fed. R. Crim. P. 24(b). Moreover, the Court may impanel up to

6 alternate jurors, and Rule 24 provides for additional peremptory strikes in this

situation as follows: (4) Peremptory Challenges. Each side is entitled to the number

of additional peremptory challenges to prospective alternate jurors specified below.

These additional challenges may be used only to remove alternate jurors. (A) One

or Two Alternates. One additional peremptory challenge is permitted when one or two

alternates are impaneled.(B) Three        or       Four   Alternates.     Two      additional

peremptory challenges are permitted when three or four alternates are impaneled.(C)

Five or Six Alternates. Three additional peremptory challenges are permitted when five

or six alternates are impaneled. FED. R. CRIM. P. 24(c)(4)(A)-(C).

      As the Mitchell Court highlights:

             As is apparent from the language of Rule 24(b), the Court
             has discretion in a multi-defendant case to permit the
             defendants to exercise more than 10 peremptory challenges.
             But the Rule does not appear to authorize a Court to grant
             the Government more than 6 peremptory challenges over
             the objection of defendants. See 2 C. Wright, FEDERAL
             PRACTICE AND PROCEDURE § 386 (Supp.1973); Cf., United
             States v. Projansky, 465 F.2d 123 (2d Cir.), cert. denied, 409 U.S.
             1006, 93 S.Ct. 443, 34 L.Ed.2d 299 (1972).

             The parties, however, can stipulate to allow a greater number
             of peremptory challenges. See, e. g., United States v. Potts, 420
             F.2d 964 (4th Cir.), cert. denied 398 U.S. 941 (1970).

               ....
United States v. Mitchell, 384 F. Supp. 564, 565 (D.D.C. 1974); United States v. Haldeman,
559 F.2d 31 (D.C. Cir. 1976).



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       A.     AT COMMON LAW, PROSECUTORS HAD NO PEREMPTORY STRIKES
              WHILE DEFENDANTS HAD UP TO 35 STRIKES.

       At common law, peremptory strikes of potential jurors was a privilege solely of

the criminal defendant. The prosecution was entitled to no peremptory strikes.

Blackstone’s Commentaries, in Chapter 27, state that “This privilege of peremptory

challenges, though granted to the prisoner, is denied to the king by the statute 33 Edw.

I. st. 4, which enacts that the king shall challenge no jurors without assigning a cause

certain, to be tried and approved by the court.”

       Blackstone wrote that peremptory challenges were “grounded on two reasons,”

first (1), that    “[a]s every one must be sensible what sudden impressions and

unaccountable prejudices we are apt to conceive upon the bare looks and gestures of

another, and how necessary it is that a prisoner (when put to defend his life) should

have a good opinion of his jury, the want of which might totally disconcert him, the law

wills not that he should be tried by any one man against whom he has conceived a

prejudice, even without being able to assign a reason for such his dislike.” Secondly

(2), wrote Blackstone, “b]ecause, upon challenges for cause shown, if the reasons

assigned prove insufficient to set aside the juror, perhaps the bare questioning his

indifference may sometimes provoke a resentment, to prevent all ill consequences from

which the prisoner is still at liberty, if he pleases, peremptorily to set him aside.”

Blackstone’s Commentaries, Vol. 2, Chap. 27, p. 353 (1753).




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         In other words, a defendant at common law had a right to a jury composed

entirely of persons whom the defendant was comfortable with. The law at the time of

the Constitution’s ratification in 1789 and 1791 provided for almost as many strikes as

were needed to ensure the defendant was tried by twelve persons whom the defendant,

and the defendant alone, had confidence in.

         Of course, there were limits under the common law.            “The peremptory

challenges of the prisoner must, however, have some reasonable boundary; otherwise

he might never be tried,” wrote Blackstone. Commentaries, Ch. 27, at 353-54. “This

reasonable boundary is settled by the common law to be the number of thirty-five; that

is, one under the number of three full juries. For the law judges that five-and-thirty are

fully sufficient to allow the most timorous man to challenge through mere caprice; and

that he who peremptorily challenges a greater number, or three full juries, has no

intention to be tried at all.”

         Approximately 20-35 peremptory challenges were allotted in English common

law with the ideal that when a person is on trial, they should not “be tried by any one

man against whom he has conceived a prejudice, even without being able to assign a

reason for such his dislike”. Think about how this concept has changed and is applied

today.

         American juries began to allow peremptory strikes for prosecutors in the late

19th century.



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      It was only after the Civil War that American courts first began to allow

prosecutors in some jurisdictions to use peremptory strikes. John M. Van Dyke,

“Peremptory Challenges Revisited,” 12 NB L.J. 114, 116 (1992). The U.S. Supreme

Court held in 1887 that a Missouri statute allotting the prosecution 15 peremptory

challenges was not abhorrent to the Fourteenth Amendment. Hayes v. Missouri, 120 U.S.

68, 71 (1887). A number of legal scholars have argued that the change toward allowing

prosecutors to use peremptory strikes was part of larger Jim Crow efforts to keep blacks

off juries. See, e.g., LACRISHA L. A. MCALLISTER, “Closing the Loophole: A Critical

Analysis of the Peremptory Challenge and Why it Should be Abolished,” 48 S.U.L. Rev.

(2021); WHITNEY DECAMP AND ELISE DECAMP, “It’s Still About Race: Peremptory

Challenge Use on Black Prospective Jurors,” Journal of Research in Crime and Delinquency

57, 3 (2020); JEANETTE E. WALSTON, Do Non-Discriminatory Peremptory Strikes

Really Exist, or Is a Juror’s Right to Sit on a Jury Denied When the Court Allows the

Use of Peremptory Strikes?, 17 Tex. Wesleyan L. Rev. 371 (2011).

      Federal and state courts have repeatedly found and written that prosecutors use

peremptory strikes to rig prosecutions for conviction by discriminating against blacks

and other jurors who are seen as more pro-defendant. See, e.g., Batson v. Kentucky, 476

U.S. 79 (1986).

      With this history in mind, and these potential jurors being called, one-by-one,

and each explaining their deep prejudicial beliefs about the Proud boys, and how such

are deep rooted “beliefs” and not “allegations”; and the turn around and state that they
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can be fair and impartial simply defies logic, common sense, and human nature. Yet,

this Court continues to deny “for cause” challenges to this type of juror; thus the only

reasonable request at this point, after three days of this type of voir dire, is to request

additional peremptory challenges for the defense.

                                   II. CONCLUSION

      Wherefore, additional peremptory strikes for the defense will ensure a fair trial

amid the intensely hostile atmosphere and jury pool of the District of Columbia. Given

the overwhelming intensity of hatred and bias exhibited by potential jurors thus far, it

is imperative that the Court grant these Defendants additional peremptory strikes.



                                          Respectfully Submitted,

                                         /s/ Steven Alan Metcalf II
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